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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                    Case No. 17-73626 (REG)
 ROLAW OF SHELTER ISLAND, INC.,
 d/b/a MICHAEL ANTHONY’S FOOD BAR,                                  Chapter 11

                                              Debtor
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                             ORDER DISMISSING CHAPTER 11 CASE


        Upon the motion (the “Motion”) of Rolaw of Shelter Island, Inc., d/b/a Michael Anthony’s

Food Bar (the “Debtor”), the above-referenced debtor and debtor-in-possession, by and through

its counsel, Macco & Stern, LLP, for an order dismissing the Debtor’s chapter 11 case and the

affidavit of service of the Motion, on file with the Court; and additional service being neither

necessary nor required; and a hearing on the Motion having been held before the Court (the

“Hearing”); and the Debtor; and good and sufficient cause appearing; and it being in the best

interests of the Debtor’s creditors; it is hereby

        ORDERED, that the Debtor’s Chapter 11 Case is dismissed; and it is further

        ORDERED, that Clerk of the Court shall close the Debtor’s above-referenced Chapter 11

Case; and it

        ORDERED, that the Debtor, or their agents, assigns, or successor in interest, may take any
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and all action under applicable law to exercise its remedies in accordance with this Order.

No Objection:

s/ Alfred M. Dimino
Office of the United States Trustee




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 Dated: Central Islip, New York                                    Robert E. Grossman
        May 30, 2018                                          United States Bankruptcy Judge
